
363 So.2d 902 (1978)
STATE of Louisiana
v.
Melvin TYLER.
No. 62308.
Supreme Court of Louisiana.
October 18, 1978.
*903 Raymond A. McGuire, New Orleans, for defendant-appellant.
William J. Guste, Jr., Atty. Gen., Barbara Rutledge, Asst. Atty. Gen., Harry F. Connick, Dist. Atty., Louise S. Korns, Asst. Dist. Atty., for plaintiff-appellee.
PER CURIAM.
Defendant Melvin Tyler was charged with second degree murder in violation of La.R.S. 14:30.1 and after trial by jury was found guilty as charged. Subsequently the trial court sentenced him to imprisonment for life without benefit of probation or parole. Defendant now appeals his conviction and sentence to this Court.
While we find no grounds for reversal of defendant's conviction, we note ex proprio motu that the sentence imposed is illegal. La.C.Cr.P. Art. 920(2). At the time of the commission of this offense on March 20, 1975, the appropriate penalty following a conviction for second degree murder was imprisonment at hard labor for life without eligibility for parole, probation or suspension of sentence for a period of twenty (20) years. La.R.S. 14:30.1, added by Acts 1973, No. 111, § 1. Accordingly, the case must be remanded for resentencing.
Defendant's conviction is affirmed, but the sentence imposed is vacated and set aside, and the case is remanded to the district court with instructions to sentence the defendant in accordance with law.
